                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

SARAH SMITH,                                  )
                                              )
       Plaintiff,                             )      Jury Demanded
                                              )
v.                                            )      Case No. ___________
                                              )
SISKIN STEEL & SUPPLY                         )
COMPANY, INC.,                                )
                                              )
       Defendant.                             )

                                           COMPLAINT

       Plaintiff sues Defendant and shows the Court as follows:

                                          I. JURISDICTION

       1.      The jurisdiction of this Court is invoked pursuant to 42 U.S.C. §2000e-5(f) and 28

U.S.C. §1331, to secure protection and redress for the deprivation of rights granted by Title VII of

the Civil Rights Act of 1964 (“Title VII”), as amended, regarding discrimination in employment

based on sex. Further there is diversity of citizenship and the amount in controversy exceeds

$75,000. As such, this Court also has jurisdiction over this matter pursuant to 28 U.S.C. §1332. In

this lawsuit, Plaint iff also alleges violations of companion state laws, including the Tennessee

Human Rights Act, Tenn. Code Ann. §4-21-101, et seq. and §4-21-401, and this Court has

supplemental jurisdiction over the same pursuant to 28 U.S.C. §1367.

       2.      The acts complained of herein took place in Hamilton County, Tennessee. Venue is

appropriate in this Court and Division.

                                          II. THE PARTIES

       3.      Plaintiff is a female, who is a resident of Trenton, Dade County, Georgia.




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       4.      Defendant is a private company headquartered in Hamilton County, Tennessee,

and, having a sufficient number of employees, it was/is an “employer” as defined by Title VII

and the THRA. As such, Defendant is covered by the requirements of Title VII and the THRA.

                     III. FACTUAL BASES OF PLAINTIFF’S CLAIMS

       5.      In the Fall of 2019, Plaintiff was subjected to a reduction in force that caused her

to lose her job. As such, in January of 2020, she was looking for a job and she had made that

known to friends and family in case they learned of opportunities.

       6.      Plaintiff had prior experience working in the fields of construction, electrical, and

customer service.

       7.      Plaintiff then learned of a job opportunity with Defendant. She learned about it

through Buford (“Buddy”) Stephens, one of Defendants’ employees who also served as a

volunteer firefighter with Plaintiff’s spouse.

       8.      Mr. Stephens told Plaintiff on January 15, 2020 that Defendant was looking to fill

a position operating the flame burner. Mr. Stephens said that Defendant had listed the job

internally, but nobody was interested in it. The job paid between $16 and $18 an hour.

       9.      Mr. Stephens told Plaintiff that if she was interested, she should contact

Defendant’s Superintendent, Todd McAllister.

       10.     Plaintiff told Mr. Stephens that she was interested in the job. She spoke to him

again on January 16, 2020 at length about the position. Mr. Stephens told Plaintiff that he had

talked to Mr. McAllister about her and that Mr. McAllister said that it would be “trouble”

because Plaintiff is a female.




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        11.     Upon information and belief, in the past, Defendant had a female employee

working in the plant who ended up having a sexual relationship with a coworker. Apparently,

Defendant felt it could avoid this dilemma by having a primarily male plant workforce.

        12.     Upon information and belief, Defendant had a pattern and practice of not hiring

female employees or only hiring male employees into plant positions classified as skilled

craftsman or machine operators with the EEOC.

        13.     Mr. Stephens reported that he told Mr. McAllister that this would not be a

problem because Plaintiff is married and gay.

        14.     Despite her natural concern about Mr. McAllister’s comments, she was interested

in the job and contacted him that same day. Mr. McAllister asked Plaintiff if she wanted to come

in and try out the flame burner and see whether she would be interested in running it.

        15.     Accordingly, on January 17, 2020, Plaintiff went to the plant in proper attire and

proper PPE. When she arrived, she met Mr. McAllister and then Mr. Stephens showed her some

work orders and gave her a brief overview of how the flame burner worked.

        16.     After learning the machine, Mr. McAllister asked if she was interested in “giving

it a shot.” He said that nobody at the plant wanted the job and they were desperate to hire

someone. Plaintiff said yes and they walked to the front office area to fill out paperwork and

begin written measurement testing.

        17.     After completing the paperwork and after Mr. McAllister spoke with others, Mr.

McAllister told Plaintiff about some “plant drama” and said, as a result, he would have to

schedule a time for a proper interview in the near future. Mr. McAllister indicated that he would

call Plaintiff to set that up, along with her physical.




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        18.     While there, Plaintiff only observed one other female employee and she worked

in the office area.

        19.     Plaintiff did not hear back from Mr. McAllister so she called him on January 23,

2020. He told her that he was busy and would call her back soon.

        20.     Mr. McAllister did not call back. As such, Plaintiff again contacted him on

January 28, 2020 and left him a voice message. He called back several hours later and said that

if she were willing to work third shift, he would hire her. In the call, Mr. McAllister indicated

that the current flame burner employee was making too many errors and they had a large job

coming in. He said they needed to fill all shifts for the flame burner and it was likely that

Plaintiff could be moved to second shift in the near future. He also said that nobody else was

interested in the position because they were lazy.

        21.     Plaintiff told Mr. McAllister that she was interested in the job, but needed to

discuss it with her spouse before she committed to it.

        22.     During the call, Plaintiff could hear someone speaking in the background at

Siskin, telling Mr. McAllister about concerns and issues to raise with Plaintiff. Mr. McAllister

concluded the call by telling Plaintiff that it was fine for her to think it over.

        23.     Plaintiff decided to accept the job offer and called Mr. McAllister on January 29,

2020 to tell him that. He did not answer the telephone, so she left him a voice message telling

him that she accepted.

        24.     Later that day, Plaintiff was called by Mr. Stephens. Mr. Stephens told Plaintiff

that Defendant was not going to hire her because it did not know where she would go to the

bathroom. He also reported to Plaintiff that another supervisor or manager told Mr. McAllister

that they didn’t think he was serious about wanting to hire a woman.



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        25.     Having not heard this directly from Mr. McAllister, Plaintiff called him the next

day. When he spoke, his voice sounded unusual and he told Plaintiff that all of a sudden four

people signed up for the flame burner job and that maybe he could get Plaintiff a warehouse

position at a later time.

        26.     Mr. Stephens later told Plaintiff that nobody had signed up for the flame burner

position at the time of that call. Instead, people who had signed up for other machines were

made to work the flame burner.

        27.     Indeed, Plaintiff was rejected for the position due to her sex/gender.

        28.     Plaintiff believes the reasons communicated for her non-hire were pretextual and

were given to mask the true reason for her non-hire, which was discriminatory and unlawful.

                                     PLAINTIFF’S CLAIMS

        29.     By refusing/failing to hire Plaintiff as alleged herein, by treating her in the manner

alleged herein, and by committing all acts alleged herein, Defendant discriminated against

Plaintiff on the basis of her sex in violation of 42 U.S.C. §2000e-2(a) and the THRA.

        30.     Plaintiff has suffered damages as a result.

                              ADMINISTRATIVE EXHAUSTION

        31.     On March 12, 2020, Plaintiff filed a charge of discrimination with the Equal

Employment Opportunity Commission (EEOC).              On November 19, 2020, the EEOC issued

Plaintiff a Notice of Right to Sue. Plaintiff brings this action within 90 days of the Notice of Right

to Sue. Thus, this action has been timely filed.

                                            DAMAGES

        32.     As a result of Defendant’s unlawful acts described above, Plaintiff has suffered both

financially and emotionally. In particular, Plaintiff has lost and will continue to lose wages and



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career advancement opportunities. In addition to the actual and financial loss Plaintiff has

sustained, she has suffered mental anguish resulting from the embarrassment and humiliation which

she experienced because of Defendant’s unlawful actions. She has also incurred attorney’s fees in

the prosecution of these claims.

                                   VII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays as follows:

       a.      That the Court issue and serve process on Defendant and require Defendant to

answer within the time prescribed by law;

       b.      That Plaintiff be awarded judgment for damages for lost wages and employee

benefits which she has lost from the date of Defendant’s discriminatory actions;

       c.      That the Court issue an injunction requiring Defendant to hire Plaintiff into the

position of flame burner or an equivalent position; or in the alternative, to award front pay in lieu

thereof;

       d.      That Plaintiff be awarded compensatory damages, including damages for

humiliation, embarrassment, grief, and/or emotional distress;

       e.      That Plaintiff be awarded attorney fees, court clerk costs, and litigation expenses,

and such other and further relief as the Court deems proper; and

       f.      Plaintiff demands a jury to try all claims and issues triable by a jury.

                                               Respectfully submitted,

                                               MIKEL & HAMILL PLLC

                                               By: _s/ Donna J. Mikel _____________
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